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 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
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 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
 99                              SAN FERNANDO VALLEY DIVISION

10
10    In re:                                          Case No.: 1:24-bk-10646-MB
11
11    SYNAPSE FINANCIAL TECHNOLOGIES,
      INC.,                                           Chapter 11 Case
12
12
13
13             Debtor and Debtor in Possession        DEBTOR’S EMERGENCY MOTION
                                                      FOR ENTRY OF AN ORDER
14
14                                                    AUTHORIZING     DEBTOR    TO
                                                      HONOR    AND/OR   PAY    PRE-
15
15                                                    PETITION   WAGES,   SALARIES,
16                                                    COMMISSIONS, AND VACATION,
16
                                                      LEAVE AND OTHER BENEFITS,
17
17                                                    REIMBURSABLE        EXPENSES,
                                                      PAYROLL TAXES AND WORKERS’
18
18                                                    COMPENSATION       INSURANCE
                                                      COSTS;    MEMORANDUM      OF
19
19                                                    POINTS AND AUTHORITIES
20
20
                                                      [Omnibus Declaration of Sankaet
21
21                                                    Pathak In Support of         First Day
                                                      Motions filed concurrently herewith]
22
22
                                                      DATE:     April 24, 2024
23
23                                                    TIME:     2:00 p.m.
24
24                                                    PLACE:    Courtroom 303
                                                                21041 Burbank Boulevard
25
25                                                              Woodland Hills, CA 91367

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 11           Synapse Financial Technologies, Inc. (the “Debtor”), debtor in possession in the above-

 22   captioned Chapter 11 bankruptcy case hereby moves, on an emergency basis (the “Motion”), for

 33   the entry of an order authorizing the Debtor to pay, in its sole discretion, certain pre-petition claims

 44   for, among other items, wages, salaries and commissions, federal and state withholding and payroll

 55   taxes, insurance costs, contributions to employee benefit plans, and all other employee benefits that

 66   the Debtor pays in the ordinary course of business, as well as reimbursable expenses (all such

 77   payments, contributions, and obligations as described herein, the “Employer Obligations”),

 88   provided that no one individual shall receive in value over the applicable statutory priority caps set

 99   forth in Section 507(a)(4) and (5) on account of his or her pre-petition claims. The relief requested
10
10    in this Motion pertaining to the payment of any prepetition Employer Obligations does not apply to
11
11    any insiders of the Debtor.
12
12            On April 22, 2024, the Debtor filed a Voluntary Petition for relief under Chapter 11 of
13
13    the Bankruptcy Code. Since the Petition Date, the Debtor has operated its business and managed
14
14    its affairs as a debtor in possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.
15
15            The Debtor is a technology and software company with a mission to ensure that everyone
16
16    around the world has access to best-in-class financial products, regardless of their net worth.
17
17    The Debtor has proprietary technology and software which essentially allows financial
18
18    technology platforms called “fintechs” to provide certain financial products and services to the
19
19    fintechs’ customers (referred to as end users) through certain banking and financial service
20
20    providers (“Partner Financial Institutions”).
21
21            The Debtor is one of the first, if not the first, tech company to pioneer a Banking as a
22
22    Service (Baas) platform for fintechs and Partner Financial Institutions which have agreements
23
23    with the Debtor to efficiently interface each other to allow for transactions (i.e., the buy and sell)
24
24    of their financial products and services to the fintechs’ end users. The Debtor has in place certain
25
25    agreements with Partner Financial Institutions and fintechs. Through the Debtor’s software
26
26    technologies and services, the Debtor provides customers of fintechs (referred to as “end users”
27
27    to avoid confusing them with the fintechs which are the customers of the Debtor) with access to
28
28    banking or other financial services provided by the Partner Financial Institutions through the


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 11   fintech’s own application. By example, an individual or a company business customer (i.e., the

 22   end user) interested in obtaining various financial services such as opening an account will first

 33   sign up with a fintech which has contracted for the Debtor’s services by utilizing the fintech’s

 44   own application. The end user signs up for the specific banking or financial services by first

 55   signing up for a user account through the fintech’s application and agreeing to the fintech’s terms

 66   and conditions (as well as those of the Debtor). Then, through the fintech’s application, the end

 77   user can choose from financial products offered by the Partner Financial Institutions, as well as

 88   the relevant agreement with the Partner Financial Institutions (e.g., deposit account agreement,

 99   card agreement, or the like). End users are customers of the fintechs and the Partner Financial
10
10    Institutions, not the Debtor. The Debtor is not in the flow of funds and does not receive funds
11
11    from the end users. The Partner Financial Institutions access information about the end users
12
12    through the Debtor’s software and technology services. The “network” between the fintech and
13
13    the Partner Financial Institutions is created through the Debtor’s technology and software which
14
14    then allows for the fintechs, Partner Financial Institutions and the end users to communicate
15
15    through their systems and programs to make transactions (for such things as deposits,
16
16    withdrawals, credit cards, etc.), for monitoring and reporting, and the like.
17
17           As of the Petition Date, the Debtor had approximately 78 employees in the United States.
18
18    The Debtor also engages approximately 18 personnel outside of the United States, but these
19
19    personnel are engaged through a third-party employer service. With respect to any pre-petition
20
20    obligation the Debtor requests authority to pay or honor, this Motion pertains only to the
21
21    Debtor’s employees in the United States who are not insiders (the “Employees”). With respect
22
22    to any post-petition compensation for any insider of the Debtor, the Debtor will file and serve a
23
23    Notice of Insider Compensation in accordance with applicable rules.
24
24           Payments to the Debtor’s Employees are primarily on a salaried or hourly basis. The
25
25    Employees are primarily paid via a payroll service that the Debtor contracts with and utilizes –
26
26    Rippling People Center Inc. (“Rippling”) – which provides employee payroll and human
27
27    resources services and solutions to the Debtor. All Employees, including those that provide
28
28    services to one or both of the Debtor’s wholly-owned subsidiaries are employed directly by the


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 11   Debtor. All Employees are compensated by the Debtor. Virtually all Employees participate in

 22   one or more of the Debtor’s benefits programs, which include health, vision, dental, disability

 33   and life insurance, a 401k plan pursuant to which the Debtor matches up to 4% of an Employee’s

 44   contributions, and a flexible healthcare spending plan.

 55          In the normal course of its relationship with Rippling, the Debtor transfers to Rippling the

 66   funds necessary for the payment of Employer Obligations by the payroll date and remits all

 77   withheld amounts and payroll taxes.

 88          The Pre-Petition Payroll Period of March 31, 2024 – April 13, 2024

 99          The Debtor is generally current with its payroll obligations to Employees, and Employees
10
10    have been paid their wages current through April 13, 2024, provided, however, that for the
11
11    payroll period of March 31, 2024 through April 13, 2024, the entirety of which is a pre-petition
12
12    period (but well within the 180 day period prior to the Petition Date), health insurance and life
13
13    insurance benefits of the Employees, respectively, totaling $120,540 and $11,118, respectively,
14
14    have not yet been funded and are ordinarily funded approximately one week after the payroll
15
15    date of April 13, 2024. Pursuant to this Motion, the Debtor requests authority to honor those
16
16    obligations to its Employees (all of which are non-insiders, and all of which are well within the
17
17    statutory cap for benefits under section 507(a)(5)).
18
18           The Payroll Period of April 14, 2024 – April 27, 2024, only a Portion of Which
19
19           Constitutes a Pre-petition Period.
20
20            On April 26, 2024, the Debtor will pay Employer Obligations to its Employees for the
21
21    period from April 14, 2024 through and including April 27, 2024, a portion of which
22
22    (approximately 5 days) constitutes pre-petition obligations. The Debtor estimates that the total
23
23    Employer Obligations due to its non-insider employees on April 26, 2024, including all payroll
24
24    taxes and insurance obligations will be approximately $425,784 (approximately less than half of
25
25    which is pre-petition), not including the Debtor’s contributions to employee benefit plans.
26
26           The Debtor estimates that its total contribution to employee insurance benefit plans for
27
27    the payroll period from April 13, 2024 through and including April 27, 2024 is approximately
28
28    $131,658, of which approximately $65,829, would be for the prepetition period.


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 11           The Debtor estimates that the total amount of 401k match obligations of the Debtor

 22   pertaining to the payroll period of April 14, 2024 – April 27, 2024 date is approximately

 33   $12,137, of which approximately $6,069 would be for the prepetition period.

 44           Pursuant to this Motion, the Debtor requests authority to honor these obligations to its

 55   Employees.

 66           Paid Time Off, Sick Leave and Vacation Benefits Accrued by Employees through

 77           the Petition Date.

 88           The total amount of paid time off/sick leave/vacation benefits accrued by Employees

 99   through the Petition Date is approximately $219,220. Pursuant to this Motion, the Debtor
10
10    requests authority to honor Employees’ accrued pre-petition paid time off/sick leave/vacation
11
11    benefits in the ordinary course of business by allowed Employees to take their accrued paid time
12
12    off/sick leave/vacation time in the ordinary course of business.
13
13            Timing Of Payroll And Benefits Funding And Requested Relief
14
14            Rippling typically obtains the funds from the Debtor to pay the Employer Obligations at
15
15    least two (2) days prior to disbursements to Employees (which is why the Debtor is requesting
16
16    an emergency hearing on this Motion), and with respect to certain contributions to the Debtor
17
17    such as for the Debtor’s 401k match (up to 4%), Rippling obtains such funds within
18
18    approximately one week after the payroll pay date. The Debtor therefore requests expedited
19
19    relief to ensure that it is able to timely fund all of its payroll obligations to the Employees.
20
20    Additionally, the Debtor requests expedited relief to ensure that its Employees, many of which
21
21    will be learning of the Debtor’s bankruptcy filing now, may be provided assurance that the
22
22    Debtor has taken immediate action to ensure that the Debtor is able to honor its Employer
23
23    Obligations to the Employees and that there will not be disruption to the ordinary course
24
24    payment of the Employer Obligations.
25
25            The source of the funds to be used to pay and/or honor the Employer Obligations will be
26
26    the Debtor’s cash, which constitutes the cash collateral of Silicon Valley Bank and Triple Point
27
27    Capital. Concurrently herewith, the Debtor has filed an emergency motion for authority to use
28
28    cash collateral.


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 11          The Debtor has brought this Motion to (i) minimize the personal financial hardship that

 22   all of the Employees will suffer if the Employee Obligations are not immediately paid/honored

 33   by the Debtor; (ii) avoid the unnecessary delay in the payment of such priority claims, which

 44   delay will negatively impact and interfere with the administration of the Debtor’s chapter 11

 55   bankruptcy case; (iii) avoid the unfair and unintended consequences to the Employees of the

 66   timing of the Debtor’s bankruptcy filing and to ensure that additional claims do not arise against

 77   the Debtor as a result of the Debtor’s failure to pay the Employer Obligations; and (iv) ensure

 88   that there is no disruption to or jeopardization of the Debtor’s sale efforts or any diminishment in

 99   the value of the Debtor’s assets and business as a result of Employee attrition caused by an
10
10    inability to honor the Employer Obligations.
11
11           The Debtor requires the services of the Employees to continue to operate, and would like
12
12    to ensure that its Employees remain incentivized and willing to work for the Debtor post-
13
13    petition. It is crucial for the Debtor to retain at this time the Employees to operate the business,
14
14    particularly during this crucial beginning phase of the Debtor’s bankruptcy case where additional
15
15    administrative and other obligations are imposed upon the Debtors, and also in connection with
16
16    the sale process involving a stalking horse bidder and an executed Asset Purchase Agreement
17
17    that contains various provisions requiring the continued operation of the Debtor and the
18
18    avoidance of any material adverse changes to the Debtor’s operations. If the Debtor does not
19
19    continue to pay the Employees their ordinary and earned compensation and continue to honor
20
20    employee benefits, the Employees may quit. Without the Employees, the Debtor’s business will
21
21    be severely impaired, if not eviscerated altogether. Without a functioning business, the Debtor’s
22
22    goal in this case of selling its assets for the highest and best price will be severely harmed.
23
23    Based on the foregoing, the Debtor respectfully submits that the relief requested in this Motion is
24
24    necessary to avoid immediate and irreparable harm.
25
25                                   ADDITIONAL INFORMATION
26
26           This Motion is based upon Local Bankruptcy Rules 2081-1(a)(6) and 9075-1, 11 U.S.C.
27
27    §§ 105(a), 363(b)(1) and (c)(1), and 507(a)(4), and Rule 6003 of the Federal Rules of
28
28    Bankruptcy Procedure, the supporting Memorandum of Points and Authorities, the Omnibus


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 11   Declaration of Sankaet Pathak filed concurrently herewith, the arguments and statements of

 22   counsel made at the hearing on this Motion, and other admissible evidence properly brought

 33   before the Court.

 44          In order to provide maximum notice of this Motion, concurrently with the filing of this

 55   Motion with the Court, the Debtor has served this Motion upon the Office of the United States

 66   Trustee, its respective twenty largest general unsecured creditors, and its secured creditors via

 77   overnight mail. Additional hard copies or electronic copies of this Motion are available upon

 88   request to proposed counsel for the Debtor, whose contact information is located on the upper-

 99   left hand corner of the first page of this Motion.
10
10           WHEREFORE, the Debtor respectfully requests that this Court enter an order:
11
11           (1)     granting this Motion in its entirety;
12
12           (2)     authorizing the Debtor to pay and/or honor all pre-petition Employer Obligations
13
13    owed to the Debtor’s Employees;
14
14           (3)     authorizing the Debtor to honor paid time off, leave and other benefits in the
15
15    ordinary course of business;
16
16           (4)     authorizing the Debtor to pay all taxes constituting, related to, or in connection
17
17    with, the Employer Obligations; and
18
18           (5)     granting such other and further relief as the Court deems just and proper.
19
19
      Dated: April 22, 2024                          SYNAPSE FINANCIAL TECHNOLOGIES, INC.
20
20
21
21                                                   By:       /s/ Krikor J. Meshefejian
                                                               RON BENDER
22
22                                                             MONICA Y. KIM
                                                               KRIKOR J. MESHEFEJIAN
23
23                                                             LEVENE, NEALE, BENDER,
                                                               YOO & GOLUBCHIK L.L.P.
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24
                                                               Proposed Attorneys for Chapter 11 Debtor
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25                                                             and Debtor in Possession

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 11                       MEMORANDUM OF POINTS AND AUTHORITIES

 22                                                   I.

 33                                     STATEMENT OF FACTS

 44   PLEASE SEE DEBTOR’S EMERGENCY MOTION FOR AUTHORITY TO USE CASH

 55   COLLATERAL AND THE OMNIBUS DECLARATION OF SANKAET PATHAK FOR

 66   BACKGROUND FACTS AND INFORMATION REGARDING THIS CASE, WHICH

 77   THE DEBTOR INCORPORATES HEREIN BY THIS REFERENCE.

 88   A.     Payment Of The Debtor’s Employee’s Compensation and Benefits.

 99          1.      As of the Petition Date, the Debtor had approximately 78 employees in the United
10
10    States. The Debtor also engages approximately 18 personnel outside of the United States, but
11
11    these personnel are engaged through a third-party employer service.         With respect to any
12
12    prepetition claims proposed to be paid or honored, this Motion pertains only to the Debtor’s
13
13    employees in the United States who are not insiders (the “Employees”).
14
14           2.      All Employees, including those that provide services to one or both of the
15
15    Debtor’s wholly-owned subsidiaries are employed directly by the Debtor. All Employees are
16
16    compensated by the Debtor. With respect to any post-petition compensation for any insider of
17
17    the Debtor, the Debtor will file and serve a Notice of Insider Compensation in accordance with
18
18    applicable rules.
19
19           3.      Payments to the Debtor’s Employees are primarily on a salaried or hourly basis.
20
20    The Employees are primarily paid via a payroll service that the Debtor contracts with and utilizes
21
21    – Rippling People Center Inc. (“Rippling”) – which provides employee payroll and human
22
22    resources services and solutions to the Debtor. All Employees, including those that provide
23
23    services to one or both of the Debtor’s wholly-owned subsidiaries are employed directly by the
24
24    Debtor. All Employees are compensated by the Debtor. Virtually all Employees participate in
25
25    one or more of the Debtor’s benefits programs, which include health, vision, dental, disability
26
26    and life insurance, a 401k plan pursuant to which the Debtor matches up to 4% of an Employee’s
27
27    contributions, and a flexible healthcare spending plan. The Debtor’s employee benefits plans for
28
28


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 11   2024 are all described in the Benefits Guide attached as Exhibit 3 to the Omnibus Declaration of

 22   Sankaet Pathak filed concurrently herewith.

 33          4.      In the normal course of its relationship with Rippling, the Debtor transfers to

 44   Rippling the funds necessary for the payment of Employer Obligations by the payroll date and

 55   remits all withheld amounts and payroll taxes.

 66          The Pre-Petition Payroll Period of March 31, 2024 – April 13, 2024

 77          5.      The Debtor is generally current with its payroll obligations to Employees, and

 88   Employees have been paid their wages current through April 13, 2024, provided, however, that

 99   for the payroll period of March 31, 2024 through April 13, 2024, the entirety of which is a pre-

10
10    petition period (but well within the 180 day period prior to the Petition Date), health insurance

11
11    and life insurance benefits of the Employees, respectively, totaling $120,540 and $11,118,

12
12    respectively, have not yet been funded and are ordinarily funded approximately one week after

13
13    the payroll date of April 13, 2024. Pursuant to this Motion, the Debtor requests authority to

14
14    honor those obligations to its Employees (all of which are non-insiders, and all of which are well

15
15    within the statutory cap for benefits under section 507(a)(5)).

16
16           The Payroll Period of April 14, 2024 – April 27, 2024, only a Portion of Which

17
17           Constitutes a Pre-petition Period.

18
18           6.       On April 26, 2024, the Debtor will pay Employer Obligations to its Employees

19
19    for the period from April 14, 2024 through and including April 27, 2024, a portion of which

20
20    (approximately 5 days) constitutes pre-petition obligations. The Debtor estimates that the total

21
21    Employer Obligations due to its non-insider employees on April 26, 2024, including all payroll

22
22    taxes and insurance obligations will be approximately $425,784 (approximately less than half of

23
23    which is pre-petition), not including the Debtor’s contributions to employee benefit plans.

24
24           7.      The Debtor estimates that its total contribution to employee insurance benefit

25
25    plans for the payroll period from April 13, 2024 through and including April 27, 2024 is

26
26    approximately $131,658, of which approximately $65,829, would be for the prepetition period.

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 11           8.      The Debtor estimates that the total amount of 401k match obligations of the

 22   Debtor pertaining to the payroll period of April 14, 2024 – April 27, 2024 date is approximately

 33   $12,137, of which approximately $6,069 would be for the prepetition period.

 44           9.      Pursuant to this Motion, the Debtor requests authority to honor these obligations

 55   to its Employees.

 66           Paid Time Off, Sick Leave and Vacation Benefits Accrued by Employees through

 77           the Petition Date.

 88           10.     The total amount of paid time off/sick leave/vacation benefits accrued by

 99   Employees through the Petition Date is approximately $219,220. Pursuant to this Motion, the
10
10    Debtor requests authority to honor Employees’ accrued pre-petition paid time off/sick
11
11    leave/vacation benefits in the ordinary course of business by allowed Employees to take their
12
12    accrued paid time off/sick leave/vacation time in the ordinary course of business.
13
13            Timing Of Payroll And Benefits Funding
14
14            11.     Rippling typically obtains the funds from the Debtor to pay the Employer
15
15    Obligations at least two (2) days prior to disbursements to Employees, and with respect to certain
16
16    contributions to the Debtor such as for the Debtor’s 401k match (up to 4%), Rippling obtains
17
17    such funds within approximately one week after the payroll pay date. The Debtor therefore
18
18    requests expedited relief to ensure that it is able to timely fund all of its payroll obligations to the
19
19    Employees. Additionally, the Debtor requests expedited relief to ensure that its Employees,
20
20    many of which will be learning of the Debtor’s bankruptcy filing now, may be provided
21
21    assurance that the Debtor has taken immediate action to ensure that the Debtor is able to honor
22
22    its Employer Obligations to the Employees and that there will not be disruption to the ordinary
23
23    course payment of the Employer Obligations.
24
24            12.     The source of the funds to be used to pay and/or honor the Employer Obligations
25
25    will be the Debtor’s cash, which constitutes the cash collateral of Silicon Valley Bank and Triple
26
26    Point Capital. Concurrently herewith, the Debtor has filed an emergency motion for authority to
27
27    use cash collateral.
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 11

 22          13.     Attached as Exhibit_4 to the Pathak Declaration is an analysis of the Debtor’s

 33   anticipated Employer Obligations for the period from April 14, 2024 through and including April

 44   27, 2024 (Exhibit 4a). Included in Exhibit 4 is an analysis of the statutorily capped payroll

 55   amounts proposed to be paid/honored (Exhibit 4b).

 66   B.     Relief Requested In This Motion.

 77          14.     By this Motion, the Debtor seeks authority to pay and/or honor all Employer

 88   Obligations owed to the Debtor’s Employees.

 99          15.     The source of the funds to be used to pay and/or honor the Employer Obligations

10
10    will be the Debtor’s cash, which constitutes the cash collateral of Silicon Valley Bank and triple

11
11    Point Capital. Concurrently herewith, the Debtor has filed an emergency motion for authority to

12
12    use cash collateral.

13
13           16.     The Debtor has brought this Motion to (i) minimize the personal financial

14
14    hardship that all of the Employees will suffer if the Employee Obligations are not immediately

15
15    paid/honored by the Debtor; (ii) avoid the unnecessary delay in the payment of such priority

16
16    claims, which delay will negatively impact and interfere with the administration of the Debtor’s

17
17    chapter 11 bankruptcy case; (iii) avoid the unfair and unintended consequences to the Employees

18
18    of the timing of the Debtor’s bankruptcy filing and to ensure that additional claims do not arise

19
19    against the Debtor as a result of the Debtor’s failure to pay the Employer Obligations; and (iv)

20
20    ensure that there is no disruption to or jeopardization of the Debtor’s sale efforts or any

21
21    diminishment in the value of the Debtor’s assets and business as a result of Employee attrition

22
22    caused by an inability to honor the Employer Obligations.

23
23           17.     The Debtor requires the services of the Employees to continue to operate, and

24
24    would like to ensure that its Employees remain incentivized and willing to work for the Debtor

25
25    post-petition during the Debtor’s expedited sale process. It is crucial for the Debtor to retain at

26
26    this time the Employees to operate the business, particularly during this crucial beginning phase

27
27    of the Debtor’s bankruptcy case where additional administrative and other obligations are

28
28    imposed upon the Debtors, and also in connection with the sale process involving a stalking



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 11   horse bidder and an executed Asset Purchase Agreement that contains various provisions

 22   requiring the continued operation of the Debtor and the avoidance of any material adverse

 33   changes to the Debtor’s operations. If the Debtor does not continue to pay the Employees their

 44   ordinary and earned compensation and continue to honor employee benefits, the Employees may

 55   quit. Without the Employees, the Debtor’s business will be severely impaired, if not eviscerated

 66   altogether. Without a functioning business, the Debtor’s goal in this case of selling its assets for

 77   the highest and best price will be severely harmed.         Based on the foregoing, the Debtor

 88   respectfully submits that the relief requested in this Motion is necessary to avoid immediate and

 99   irreparable harm.
10
10                                                      II.
11
11                                                DISCUSSION
12
12           Sections 105(a), 363(b)(1) and (c)(1) and 507(a)(4) and (5) provide statutory support for
13
13    the requested relief. Specifically, § 363(b)(1) of the Bankruptcy Code authorizes a debtor in
14
14    possession to use property of the estate other than in the ordinary course of business after notice
15
15    and a hearing; and § 363(c)(1) of the Bankruptcy Code authorizes a debtor in possession to enter
16
16    into transactions in the ordinary course of business without notice and a hearing.            Local
17
17    Bankruptcy Rule 2081-1(a)(6) also expressly permits a debtor to seek to pay prepetition
18
18    employee obligations. Moreover, the obligations that the Debtor requests authority to pay and/or
19
19    honor are generally entitled to priority in payment under §§ 507(a)(4), (5) and (8)(D).
20
20    A.     The Court Should Authorize The Debtor To Pay/Honor All Of The Employer
21
21           Obligations.
22
22           Pursuant to Section 105(a) of the Bankruptcy Code, “the court may issue any order,
23
23    process, or judgment that is necessary or appropriate to carry out the provisions of this title.”
24
24    The basic purpose of Section 105(a) is “to assure the bankruptcy courts power to take whatever
25
25    action is appropriate or necessary in aid in their jurisdiction.” 2 Collier on Bankruptcy ¶ 105.01
26
26    at 105-3 (15th ed. rev. 1998).     Essentially, Section 105(a) codifies the bankruptcy court’s
27
27    inherent equitable powers. See Green v. Drexler (In re Feit & Drexler, Inc.), 760 F.2d 406 (2d
28
28    Cir. 1985).


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 11          The United States Supreme Court in Czyzewski v. Jevic Holding Corp. has recognized

 22   that courts “[approve] interim distributions that violate ordinary priority rules,” generally when

 33   there are “significant Code-related objective that priority-violating distributions serve,” including

 44   “payment of employees’ prepetition wages.” 137 S.Ct. 973, 985 (2017).

 55          The Debtor submits that to ensure that its employees remain incentivized to work for the

 66   Debtor post-petition, and maintain their morale at this critical time, as well as ensure that the

 77   Debtor’s business operations are not disrupted during the Debtor’s post-petition sale process, all

 88   of the Employee Obligations should be honored/paid by the Debtor.

 99          First, the Debtor proposes to pay and/or honor those Employer Obligations attributed to
10
10    the Employees that are entitled to priority treatment under Sections 507(a)(4) and (5) of the
11
11    Bankruptcy Code. The Debtor is required to pay such priority claims in full to confirm any
12
12    chapter 11 plan pursuant to Section 1129(a)(9)(B), and all such claims must be paid in full before
13
13    there can be any distribution to general unsecured creditors. See Czyzewski v. Jevic Holding
14
14    Corp. at 985 (recognizing that courts “approve[] interim distributions that violate ordinary
15
15    priority rules,” generally when there are “significant Code-related objectives that the priority
16
16    violating distributions serve,” including “payment of employees’ prepetition wages.”).
17
17           For a number of reasons, the Bankruptcy Code, case law and common practice affords
18
18    special treatment to the prepetition priority claims of employees. Compared to a typical claim in
19
19    a chapter 11 corporate bankruptcy, wages typically represent a large part of an employee’s
20
20    income, and the failure to pay such wages oftentimes results in unsustainable financial hardship
21
21    to employees. Additionally, the typical employee does not have alternative sources of income
22
22    and thus cannot diversify the risk of an employer’s default. Moreover, the only reason the
23
23    Employees are still owed Employer Obligations is because of the timing of the Debtor’s
24
24    bankruptcy filing. Under the circumstances, the failure to pay the Employer Obligations to
25
25    Employees now would be tantamount to disregarding the special treatment the Bankruptcy Code,
26
26    case law and common practice affords to employees and would cause a completely unnecessary
27
27    and financially devastating impact upon these individuals who the Debtor needs in order to
28
28    preserve the value of the Debtor’s estate and allow for the Debtor to function as a going concern


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 11          Second, the earlier payment of the pre-petition Employer Obligation claims of the

 22   Employees is especially appropriate given that the Debtor’s continued operation is the result of

 33   the hard work, dedication, and loyalty of such individuals.

 44          Third, the Court should consider that the failure of the Debtor to pay the Employer

 55   Obligations owing to the Employees will negatively impact the morale of the Employees.

 66          Lastly, payment of the Employer Obligations to the Employees is essential to the

 77   livelihood of the Employees, many of whom would suffer extreme personal hardship and

 88   financial difficulty if they are not paid. None of the Employees are compensated extravagantly.

 99   Moreover, the Debtor’s payment of the Employer Obligations to the Employees will not only
10
10    compensate these individuals for the invaluable services that they performed and continue to
11
11    perform for the Debtor, but also allow them to use such funds to pay for basic life necessities.
12
12    Under these circumstances, the Court should authorize the Debtor to honor or pay the Employer
13
13    Obligations of the Employees. In re First Magnus Fin. Corp., 390 B.R. 667, 678 (Bankr. D.
14
14    Ariz. 2008) (“507(a)(4) of the Bankruptcy Code, Congress’ intent is clear, and its precedent
15
15    long-established. In it, Congress plainly intended to provide some cushion to unfortunate
16
16    unpaid employees who were injured by a bankruptcy filing, and who concurrently failed to
17
17    receive their full compensation package.”) (emphasis added).
18
18    B.     Sufficient Evidence Has Been Provided, In Compliance With Local Bankruptcy
19
19           Rule 2081-1(a)(6), To Grant The Relief Requested Herein.
20
20           Local Bankruptcy Rule 2081-1(a)(6) provides that motions to pay pre-petition payroll
21
21    and to honor pre-petition employment procedures must be supported with evidence that
22
22    establishes:
23
23           (i)         The employees are still employed;
24
24           (ii)        The necessity for payment;
25
25           (iii)       The benefit of the procedures;
26
26           (iv)        The prospect of reorganization;
27
27           (v)         Whether the employees are insiders;
28
28


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 11          (vi)           Whether the employees’ claims are within the limits established by 11 U.S.C.

 22                         § 507; and that

 33          (vii)          The payment will not render the estate administratively insolvent.

 44          The foregoing factors are discussed individually below:

 55          1.      The employees are still employed. As set forth in the Omnibus Declaration of

 66   Sakaet Pathak, all of the Employees are current Employees, and are anticipated to continue to

 77   work for the Debtor post-petition.

 88          2.      The necessity for payment. The Debtor believes that the Employees will quit and

 99   the Debtor’s business will be severely disrupted if the Debtor does not honor the Employer
10
10    Obligations immediately. The Debtor believes that the retention of its Employees is crucial to (i)
11
11    the Debtor’s continued operations without interruptions, (ii) preserve and maximize the value of
12
12    the Debtors’ assets, (iii) ensure compliance with the terms of the Debtor’s asset purchase
13
13    agreement with the proposed stalking horse bidder; and (iv) maximize recoveries for the
14
14    Debtor’s creditors.
15
15           3.      The benefit of the procedures. The benefit of the procedures requirement is not
16
16    relevant to the request to pay/honor the Employer Obligations.
17
17           4.      The prospect of reorganization. The Debtor has an executed stalking horse asset
18
18    purchase agreement and a proposed sale process and believes that it will be able to conduct a
19
19    successful sale of its assets within an expedited timeframe, but in order to do so and generate the
20
20    most money possible, the Debtor requires the continued services of its Employees while the Debtor
21
21    conducts a sale process.
22
22           5.      Whether the employees are insiders. The Debtor is not requesting authority to pay
23
23    any pre-petition claims of any insiders.
24
24           6.      Whether the employees’ claims are within the limits established by 11 U.S.C. §
25
25    507. The Motion expressly provides that none of the Employees shall receive more than the
26
26    applicable statutory limit on account of their pre-petition priority claims. Furthermore, based on
27
27    the information currently available and analysis to date, the Debtor anticipates that priority claims
28
28


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 11   will get paid in full in this case such that payment of the Employer Obligations to the employees is

 22   simply a matter of timing.

 33           7.      The payment will not render the estates administratively insolvent. Based on the

 44   information currently available and analysis to date, including the Debtor’s asset purchase

 55   agreement, the Debtor does not believe that the payment of the Employer Obligations will render

 66   this bankruptcy estate administratively insolvent. As indicated in the cash collateral budget

 77   addressed in the concurrently filed emergency cash collateral motion, the Debtor has sufficient

 88   funds available to pay the Employer Obligations.

 99   C.      Applicable Bankruptcy and Non-Bankruptcy Law Requires Payment and
10
10            Continuation of Certain of the Employer Obligations.
11
11            A portion of the Employer Obligations constitute payroll taxes, which are required to be
12
12    withheld from earnings and paid to taxing agencies. If the Debtor does not remit those amounts,
13
13    the employees may face legal action, and the Debtor may be burdened by inquiries and disputes
14
14    concerning the Debtor’s failure to submit legally required payments and potentially penalties and
15
15    interest to the various taxing agencies. Further, most, if not all, of the unremitted taxes constitute
16
16    monies held in trust and are not property of the Debtor’s bankruptcy estate. With respect to any
17
17    such amounts held in trust, the Debtor submits they are both entitled and required to continue
18
18    directing such funds to the appropriate parties. See In re Energy Res. Co., Inc., 871 F.2d 223, 225 (1st
19
19    Cir. 1989) (observing that federal law requires employers to hold withheld funds in trust for the
20
20    United States); DuCharmes & Co. v. Mich. (In re DuCharmes & Co.), 852 F.2d 194, 195-96 (6th Cir.
21
21    1988) (noting that “individual officials of an employer who fail to pay over [federal withholding]
22
22    taxes have been withheld are subject to personal liability”). Accordingly, the Debtor requests
23
23    authority to remit the withheld amounts to the appropriate taxing agencies.
24
24    D.      The Debtor Should Be Authorized To Continue to Maintain All Of Its Employee
25
25            Benefits Programs
26
26            The Debtor requests authority to continue to maintain its employee benefits programs,
27
27    including health vision, dental, disability and life insurance benefit programs, the Debtor’s 401k
28
28    plan program which includes a 4% match by the Debtor, and the flexible healthcare spending


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 11   account program in the ordinary course of its business. Such programs constitute a portion of the

 22   Employer Obligations and the compensation offered to the Debtor’s Employees.

 33          With respect to the relatively modest prepetition amounts owed by the Debtor on account

 44   of such programs, section 507(a)(5) provides priority status to “claims for contributions to an

 55   employee benefit plan- (A) arising from services rendered within 180 days before the date of the

 66   filing of the petition or the date of the cessation of the debtor’s business, whichever occurs first;

 77   but only (B) for each such plan, to the extent of – (i) the number of employees covered by each

 88   such plan multiplied by $15,150, less (ii) the aggregate amount paid to such employees under

 99   paragraph (4) of this subsection, plus the aggregate amount paid by the estate on behalf of such
10
10    employees to any other employee benefit plan.” See 11 U.S.C. § 507(a)(5).
11
11           Here, there are approximately 56 - 64 Employees (not including insiders) covered by the
12
12    Debtor’s employee benefit plans1. Assuming that all of the employee benefits offered by the
13
13    Debtor constitute a single plan and using a conservative figure of 56 Employees “covered” by
14
14    the benefits plan, the aggregate amount for purposes of Section 507(a)(5)(B)(i) totals
15
15    approximately $848,400. The aggregate amount proposed to be paid to the Employees under
16
16    paragraph (4) of Section 507(a) is the sum of approximately $432,112 (the sum of accrued
17
17    prepetition paid time off/sick leave/vacation benefits and pre-petition payroll). The difference of
18
18    $416,288 would approximately be the statutory cap under section 507(a)(5) for priority treatment
19
19    of contributions to a single employee benefit plan before taking into any other employee benefit
20
20    plan. The total amount of contributions to all employee benefit plans collectively the Debtor
21
21    proposes to honor/pay pursuant to this Motion arising from services provided by Employees
22
22    immediately prior to the Petition Date is approximately $203,556, which the Debtor submits is
23
23    well within the statutory cap.
24
24    E.     The Relief Requested Herein Is Necessary To Avoid Immediate And Irreparable
25
25           Harm And Is Therefore Warranted Under Rule 6003 Of The Federal Rules Of
26
26           Bankruptcy Procedure.
27
27    1
        Six Employees do not participate in benefits, but still receive life and disability insurance
28
28    benefits. Fourteen Employees are not participating in the Debtor’s 401k plan.



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 11          Rule 6003 of the Federal Rules of Bankruptcy Procedure states, in relevant part:
                    “Except to the extent that relief is necessary to avoid immediate and
 22                 irreparable harm, the court shall not, within 20 days after the filing
 33                 of the petition, grant relief regarding the following:
                     [...]
 44
                             (b)     a motion to use, sell, lease, or otherwise incur an
 55                  obligation, regarding property of the estate, including a motion to
                     pay all or part of a claim that arose before the filing of the petition,
 66                  but not a motion under Rule 4001; [...].”
 77   Fed. R. Bankr. Pro. 6003.
 88          For the reasons noted above, the Debtor’s failure to pay the Employer Obligations will
 99   likely result in severe disruptions to the Debtor’s essential operations and may jeopardize the
10
10    Debtor’s ability to preserve and maximize the value of its operations and assets for the benefit of
11
11    creditors. Accordingly, the Debtor respectfully submits that the honoring or payment of the
12
12    Employer Obligations is necessary to avoid immediate and irreparable harm, and is therefore
13
13    warranted under Rule 6003 of the Federal Rules of Bankruptcy Procedure.
14
14                                                    III.
15
15                                             CONCLUSION
16
16           Based upon all of the foregoing, the Debtor respectfully requests entry of an order:
17
17           (1)     granting this Motion in its entirety;
18
18           (2)     authorizing the Debtor to pay and/or honor all pre-petition Employer
19
19    Obligations;
20
20           (3)     authorizing the Debtor to honor paid time off, leave and all other benefits and
21
21    contribution plans in the ordinary course of business;
22
22           (4)     authorizing the Debtor to pay all taxes constituting, related to, or in connection
23
23    with, the Employer Obligations; and
24
24           (5)     granting such other and further relief as the Court deems just and proper.
25
25
      Dated: April 19, 2024                         SYNAPSE FINANCIAL TECHNOLOGIES, INC.
26
26
27
27                                                  By:      /s/ Krikor J. Meshefejian
                                                             RON BENDER
28
28                                                           MONICA Y. KIM


                                                       18
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 11                                             KRIKOR J. MESHEFEJIAN
                                                LEVENE, NEALE, BENDER,
 22                                                    YOO & GOLUBCHIK L.L.P.
 33                                             Proposed Attorneys for Debtor and
                                                Debtor in Possession
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, California 90034

A True And Correct Copy Of The Foregoing Document Entitled (Specify): DEBTOR’S EMERGENCY MOTION FOR
ENTRY OF AN ORDER AUTHORIZING DEBTOR TO HONOR AND/OR PAY PRE-PETITION WAGES, SALARIES,
COMMISSIONS, AND VACATION, LEAVE AND OTHER BENEFITS, REIMBURSABLE EXPENSES, PAYROLL
TAXES AND WORKERS’ COMPENSATION INSURANCE COSTS; MEMORANDUM OF POINTS AND AUTHORITIES
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 22, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyg.com
       Russell Clementson russell.clementson@usdoj.gov
       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) April 22, 2024, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 22, 2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY OVERNIGHT MAIL ON
SECURED CREDITORS, THE 20 LARGEST UNSECUREDS, ALL KNOWN POTENTIAL BIDDERS, ANY STALKING
HORSE BIDDER, ANY REGULATORY AGENCY WITH AN INTEREST IN THE ASSETS TO BE SOLD, & THE UNITED
STATES TRUSTEE

                                                     Service by OVERNIGHT MAIL/FEDEX information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 22, 2024                Lourdes Cruz                                                     /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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